                 Case:18-19570-TBM Doc#:3 Filed:11/01/18                                           Entered:11/01/18 13:43:24 Page1 of 2


 Fill in this information to identify the case:
 Debtor name Fate Restaurants, LLC
 United States Bankruptcy Court for the: DISTRICT OF COLORADO                                                                                         Check if this is an

 Case number (if known):                18-19570                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 1600 38th Street,                                                                                                                                                      $110,000.00
 LLC
 c/o The Colorado
 Group, Inc.
 3434 47th Street
 Suite 220
 Boulder, CO 80301
 1650 38th Street,                                                                                                                                                        $20,981.76
 LLC
 c/o The Colorado
 Group, Inc.
 3434 47th Street,
 Suite 220
 Boulder, CO 80301
 Bank of America                                                                                                                                                          $31,581.03
 P.O. Box 15220
 Wilmington, DE
 19886
 Breakaway                                                                                                                                                                $62,650.00
 Business Center
 1855 Pearl Street
 Suite 20
 Denver, CO 80201
 Broadway Advance                                                                                                                                                         $80,000.00
 39 Broadway
 Suite 930
 New York, NY 10006
 BSP                                                                                                                                                                      $22,367.00
 c/o Learfield
 Communications
 P.O. Box 843038
 Kansas City, MO
 64184
 Chase                                                                                                                                                                    $27,718.17
 P.O. Box 6294
 Carol Stream, IL
 60197


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 Debtor    Fate Restaurants, LLC                                                                              Case number (if known)         18-19570
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Colordao                                                                                                                                                                 $48,686.95
 Department of Labor
 and
 Employment
 633 17th Street,
 Suite 201
 Denver, CO 80202
 Crosby Farms                                                                                                                                                             $57,114.20
 8648 Crosby Road
 NE
 Woodburn, OR
 97071
 Guaranty Bank and                                               Line of Credit                                                                                           $99,569.24
 Trust
 P.O. Box 5847
 Denver, CO 80217
 Hollingsberry &                                                                                                                                                          $18,486.27
 Son, Inc.
 P.O. Box 966
 Yakima, WA 98907
 Keg Logistics                                                                                                                                                            $32,950.48
 P.O. Box 912908
 Denver, CO 80291
 Kinyon, Kevin                                                                                                                                                          $121,000.00
 169 Old Redding
 Road
 Redding, CT 06896
 Pivotal Payments                                                                                                                                                         $20,000.00
 5000 Legacy Drive
 Suite 320
 Plano, TX 75024
 Proximity Malt, LLC                                                                                                                                                      $19,389.50
 644 South 5th Street
 Milwaukee, WI
 53204
 Ritchison, Dawn                                                 Loans                                                                                                    $29,632.00
 2608 Denver Avenue
 Longmont, CO
 80503
 Seabass, LLC                                                                                                                                                           $100,000.00
 3019 14th Street
 Boulder, CO 80304
 Shamrock Foods                                                  Vendor                                                                                                 $153,000.00
 P.O. Box 910219
 Denver, CO 80291
 Sysco                                                                                                                                                                    $21,056.60
 5000 Beeler St.
 Denver, CO 80238
 Xcel Energy                                                                                                                                                              $14,161.89
 P.O. Box 9477
 Minneapolis, MN
 55484-9477


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